          Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 1 of 16




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    DONNA CURLING, et al.,                     :
                                               :
         Plaintiffs,                           :
                                               :
    v.                                         :           CIVIL ACTION NO.
                                               :           1:17-cv-2989-AT
    BRAD RAFFENSPERGER, et al.,                :
                                               :
         Defendants.                           :

                                           ORDER

         On September 28, 2020, this Court entered an Order granting the Coalition

Plaintiffs’ motion for a preliminary injunction regarding paper pollbook backups.

(Order, Doc. 918.) Four days later, the State Defendants filed a Notice of Appeal

to the Eleventh Circuit Court of Appeals, and on October 6, 2020 they filed a

Motion to Stay the Court’s Order pending the appeal (Doc. 951).

         The Coalition Plaintiffs have moved under Rule 59(e) of the Federal Rules of

Civil Procedure to alter or amend this Court’s Opinion and Order of September 28,

2020 which granted their motion for a preliminary injunction regarding paper

pollbook backups [Doc. 958] 1. For the following reasons, the Court GRANTS IN

PART and DENIES IN PART the motion.




1 Plaintiffs filed their original motion on October 8, 2020 at Doc. 956. The next day, Plaintiffs
filed a Corrected Motion at Doc. 958. As the Corrected Motion (Doc. 958) is the operative motion,
the Clerk is DIRECTED to terminate the original motion at Doc. 956.
        Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 2 of 16




I.    DISCUSSION

      In light of arguments made by State Defendants in connection with their

Motion to Stay the Order pending appeal, Coalition Plaintiffs assert that “certain

aspects of the Court’s Opinion and Order require minor clarifications in the form

of relatively straightforward but important amendments to the Court’s Order.”

Specifically, they seek modification of the Order to (1) ensure that the Order is

narrowly tailored to effectuate the intended relief; (2) clarify that the Order does

not enjoin operation of O.C.G.A. § 21–2–388(2); and (3) clarify that both the

Court’s findings of imminent harm to voters and the injunctive relief granted apply

not just to the November 2020 general election, but also to elections in December

2020, January 2021, and thereafter. In addition, Plaintiffs seek to modify the

Order to (1) require the Secretary of State to be responsible for the cost of printing

and delivery of the paper pollbook backup; and (2) specify that the Secretary

should require county superintendents to have enough emergency paper ballots on

hand for at least 40% of the number of registered voters at each polling place as

the minimum number of emergency paper ballots for election day.

      According to Plaintiffs, the Motion seeks only to make the relief granted by

the Order itself more likely to be effective in view of the State Defendants’ “evident

determination to misconstrue potential ambiguities in the Order” and the

proposed amendments will “make the injunctive relief granted more explicit . . .

and less susceptible to misinterpretation.”




                                          2
        Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 3 of 16




      A.     The Information Required To Be Included In The Updated
             Electors List For Printing

      In their opposition to Plaintiffs’ request for paper pollbook backups, the

State Defendants asserted the relief was unnecessary because Georgia law already

requires the provision of a paper copy of the supplemental voter lists. However, as

Plaintiffs presented in their motion, the supplemental lists currently provided in

paper do not show voting status (as should be reflected in the updated information

in the electronic pollbooks) and so they cannot be used in the same way for check-

in and issuance of access cards to the voting machines when the electronic

pollbooks experience outages or malfunctions. In fashioning relief, the Court

endeavored to make clear that the paper pollbook backup must be updated at the

conclusion of absentee and in-person early voting to include all information

necessary to determine a voter’s eligibility on election day, which would necessarily

include the same information provided by the electronic pollbooks. Therefore, the

Court ordered that “the Secretary of State shall generate and transmit to each

county election superintendent at the close of absentee in-person early voting an

updated electors list in a format capable of printing by the election superintendent

that includes all of the information located in the electronic pollbook” and “direct

every county election superintendent (1) to print and provide at each polling place

at least one paper back-up of the pollbook for use on Election Day, which paper

back-up shall be updated after the close of absentee in-person voting (early voting)

[and] (2) to use the paper back-up of the pollbook in the polling place to attempt



                                         3
        Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 4 of 16




to adjudicate voter eligibility and precinct assignment in the event of equipment

malfunction or an emergency as defined by Ga. R. & R. 183-1-12.11(2)(d).” (Order,

Doc. 918 at 64-65.) The Court noted that, like the information in the electronic

pollbooks, the list must include accurate information regarding all persons who

have been issued or cast absentee ballots during the advanced/early voting period

prior to election day. (Order at 64, id. at 64 n. 26) (quoting O.C.G.A. § 21-2-224(b)

(“The registrars shall, prior to the hour appointed for opening the polls, place in

the possession of the managers in each precinct one copy of the certified electors

list for such precinct, such list to contain all the information required by law. The

list shall indicate the name of any elector who has been mailed or delivered an

absentee ballot.”).)

      Plaintiffs now assert, that by requiring an updated paper list that “includes

all the information located in the electronic pollbooks,” the Court’s Order, though

“not unduly burdensome [] may require more printing than is actually necessary”

because the new electronic pollbooks that are delivered to each precinct now

include information on all 7 million registered voters in Georgia.         However,

because poll “workers at any given polling place only need a small subset of this

information to check in the voters assigned to their polling place,” Plaintiffs assert

that the Court should clarify that the Secretary is ordered to provide “an updated

electors list in a format capable of printing by the election superintendent that

includes all of the information located in the electronic pollbook necessary for

printing precinct-level information required in each polling place to check in


                                          4
          Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 5 of 16




voters and issue ballots to eligible voters.” (Pls.’ Mot., Doc. 958-1 at 3-5) (emphasis

added).

      This is precisely what the Court intended by its reference to O.C.G.A. § 21-2-

224(b). See O.C.G.A. § 21-2-224(b) (“The registrars shall, prior to the hour

appointed for opening the polls, place in the possession of the managers in each

precinct one copy of the certified electors list for such precinct, such list to contain

all the information required by law. The list shall indicate the name of any elector

who has been mailed or delivered an absentee ballot.”) (emphasis added).

Accordingly, to the extent modification of the Order is needed to clarify that the

paper pollbook to be used as an emergency backup contains updated precinct-level

information required in each polling place, the Plaintiffs’ Motion is GRANTED.

      Plaintiffs also seek modification of the Order to indicate that “the Secretary

may assume responsibility for the printing and delivery of these lists for each

polling place” and to require that the Secretary is “responsible for the cost of

printing and delivery of lists to polling places.” Of course, the Secretary of State

may opt to provide printed lists at its own cost. The Court will not, however,

modify the terms of the Order to require the Secretary to absorb the cost for

providing paper pollbook backups for each polling location in all of Georgia’s 159

counties absent evidence from Plaintiffs regarding such costs in the context of a

permanent injunction. Accordingly, the Court DENIES Plaintiffs’ request for

modification of the preliminary injunction on these grounds at this time.




                                           5
        Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 6 of 16




      B.     Amendment of the Order to Clarify the Procedure In
             O.C.G.A. § 21–2–388(2) is Not Enjoined

      In their opposition to Plaintiffs’ request for updated paper pollbook backups

for use in the event of problems with the electronic pollbooks on election day, the

State Defendants asserted that “[e]ven if an updated electors list could be printed

by precinct and delivered to the counties in three days between the end of early

voting and election day, a paper printout of the updated electors list would not

account for every voter’s status, as absentee ballots are continuously being

returned” therefore “an updated electors list could not adjudicate voter eligibility

in all situations.” (Resp. at 24.) State Defendants further argued that use of a

paper pollbook to determine voter eligibility would insert an entirely new protocol

just weeks prior to the election.

      But as the Court explained in its September 28th Opinion and Order, the

paper pollbook backup ordered by the Court would provide the same information

contained in the electronic pollbook as required by state law and therefore could

be used in the same manner as the electronic pollbook to determine voter eligibility

(as necessary in the event of emergencies, electronic outages, or disruptions). (See

Order at 12-13) (quoting O.C.G.A. § 21-2-401(b) requiring that “[t]he registrars

shall, prior to the hour appointed for opening the polls, place in the possession of

the managers in each precinct one copy of the certified electors list for such

precinct, such list to contain all the information required by law. The list shall

indicate the name of any elector who has been mailed or delivered an absentee



                                         6
        Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 7 of 16




ballot”) (emphasis added); (see also Order at 17-19) (summarizing testimony of

Elections Director, Chris Harvey, that, “[w]hen a voter requests an absentee ballot

but then appears at the polls on Election Day without their ballot in hand, the poll

official should check with the registrar to ensure that no absentee ballot has been

accepted for that voter prior to having the voter execute a cancellation affidavit and

then vote using the BMD” and “[t]hat process applies whether the voter is checked

in using the PollPad or a paper list”); (see also Order at 56-57) (explaining that

under the Secretary of State’s own training manual, poll workers are currently

trained to use a paper list of electors in the precinct and are directed to refer to the

paper list to keep processing voters if the polling place loses power or the PollPads

stop working and that the only change would be that the paper backup copy

Plaintiffs request would be more complete and accurate than the current paper

lists and would mirror the information in the e-pollbook).)

      The Court recognized Defendants’ concern that “a paper printout of the

updated electors list would not account for every voter’s status, as absentee ballots

are continuously being returned” and therefore “an updated electors list could not

adjudicate voter eligibility in all situations.” But the Court found that this concern

did not justify denying relief where an updated list can be used to properly

adjudicate voter eligibility for some voters and for others would require the poll

workers to follow their existing protocol of contacting the county elections offices

to confirm voter eligibility. (See Order at 57) (“A poll manager, consistent with




                                           7
         Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 8 of 16




current practice, would simply then call the County Elections Office to confirm the

voting status for a much smaller, select number of voters.”).

       Plaintiffs’ proposed order, however, did not expressly account for the

situation described by Defendants, and instead asked the Court to require county

election superintendents to “to use the paper back-up of the pollbook in the polling

place to attempt to adjudicate voter eligibility and precinct assignment” and “to

allow voters who are shown to be eligible electors on the paper pollbook backups

to cast an emergency ballot that is not to be treated as a provisional ballot.”

Therefore, the Court included provisions in its relief intended to address this gap

and to indicate that the State’s existing procedures for handling such voter

eligibility issues would still apply. Specifically, the Court ordered the Secretary of

State to direct every county election superintendent to “allow voters who are shown

to be eligible electors on the paper pollbook backups who are not shown on the

updated list as having requested an absentee mail-in ballot to cast a regular [or]

emergency ballot that is not to be treated as a provisional ballot” and “allow voters

who are shown to be eligible electors on the paper pollbook backups but who are

shown on the updated list as having requested an absentee mail-in ballot to have

their absentee ballot canceled 2 and to cast a regular or emergency ballot that is not

to be treated as a provisional ballot, provided that such voter either surrenders the

absentee ballot to the poll manager of the precinct or in the case of a voter who has


2See O.C.G.A. § 21-2-388 (providing for cancellation of absentee ballots and permitting voters to
cast votes in person upon cancellation); see also Ga. Comp. R. & Regs. 183-1-14-.06 (regarding
procedures for spoiled absentee ballots).

                                               8
           Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 9 of 16




requested but not yet received their absentee ballot completes an elector’s oath 3

affirming the voter has not marked or mailed an absentee ballot for voting in such

primary or election.” (Order at 65.) The Court expressly referred to the procedures

outlined in O.C.G.A. § 21-2-388, providing for cancellation of absentee ballots and

permitting voters to cast votes in person upon cancellation. (See id. at 65, n. 28.)

         State Defendants argue in their Motion to Stay the Order pending their

appeal that the Order alters the State’s procedure and effectively excises the

requirement in O.C.G.A. § 21-2-388(2) that registrars “confirm[] that the elector’s

absentee ballot has not yet been received by the board of registrars” prior to

allowing a voter to vote in the precinct on Election Day “because the Court orders

the Secretary to direct every superintendent that no such additional check is

required before voters who are shown as ‘having requested an absentee mail-in

ballot’ are allowed to vote on the BMDs.” (Mot. at 14.)              This is a glaring

mischaracterization and an entirely inaccurate interpretation of the Court’s

ordered relief.

         As the Court indicated repeatedly in its Order, the relief is narrowly tailored

and manageable within the framework of the current statutory and regulator

system without any major changes required of the Secretary of State or local

election superintendents. The remedy’s conformity with the overall regulatory

scheme imposed no changes to Georgia’s statutory procedures relating to voters

who requested absentee ballots, but who instead decide to vote in-person.


3   See O.C.G.A. § 21-2-384.

                                            9
       Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 10 of 16




Nonetheless, because the State Defendants are laboring under a flawed

misinterpretation, the Court GRANTS Plaintiffs’ Motion as necessary to clarify

that voter eligibility shall be determined in accordance with O.C.G.A. § 21-2-388

and the existing practices as described by Mr. Harvey.

      C.    The Court’s Findings and Relief Apply to Elections After
            November 2020

      According to Plaintiffs’ motion, “it is apparent that the Defendants have

misapprehended the Court’s injunction as applying only to the upcoming

November 2020 election, not to any other elections.” Although Plaintiffs believe

it is already clear from the terms of the Order which expressly apply “UNTIL

FURTHER ORDER OF THIS COURT,” Plaintiffs request that the Court amend the

Order to expressly state that “its findings of imminent harm apply with respect to

all upcoming elections, not just the November 2020 election, and to explicitly

award relief not just for the November 2020 election, but also for the elections

following after November.”

      Accordingly, to the extent it is necessary to expressly clarify that its findings

apply to all elections until further order of this Court, Plaintiffs’ Motion is

GRANTED.

      D.    Request for Modification of Order to Specify the Minimum
            Number of Emergency Paper Ballots Per Precinct Polling
            Place

      At the conclusion of the injunction hearing on September 13, 2020, and

again in a subsequent order entered on September 15, 2020, the Court asked the



                                         10
       Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 11 of 16




parties to address whether and why relief tailored to facilitating the uniform

implementation of the State’s established emergency ballot process would be a

feasible alternative to Plaintiffs’ request for a wholesale switch to hand-marked

paper ballots. Thereafter, on September 28, 2020, the Court entered an Order

requiring the Secretary of State to (1) take every reasonable measure to ensure that

county election officials and poll workers are trained as to how to generate and use

paper pollbook backups and emergency ballots and handle the casting and

counting of emergency votes in conformity with this Order directly as emergency

ballots, if necessary; and (2) maintain a sufficient stock of emergency paper ballots.

The Court noted this relief is consistent with State Election Board Rule 183-1-12-

.11(2)(c) that requires that election superintendents “shall cause each polling place

to have a sufficient amount of emergency paper ballots so that voting may continue

uninterrupted if emergency circumstances render the electronic ballot markers or

printers unusable. For any primary or general election for which a state or federal

candidate is on the ballot, a sufficient amount of emergency paper ballots shall be

at least 10% of the number of registered voters to a polling place.” (emphasis

added).

      At no time prior to the entry of the Order did either group of Plaintiffs offer

any evidence or make any specific request regarding what would be a sufficient

amount of emergency paper ballots for use in the November 3, 2020 election,

despite presenting evidence of the scope of the malfunctions of the BMD voting

system equipment in the pilot and primary elections. Days after the entry of the


                                         11
       Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 12 of 16




Court’s Order, non-party Common Cause Georgia filed an amicus brief asserting

that according to its research, the minimum threshold provided in Georgia’s

regulations – an amount equivalent to at least 10% of registered voters in a polling

place – is “nowhere near ‘sufficient’ to meet the demands that Georgia polling

places are projected to see on Election Day.” (Doc. 931 at 1-2.) Rather, according

to its “data-based analysis,” the appropriate number of emergency and provisional

ballots would be equal to 40% of registered voters assigned to a polling place.

      Based on this information, which was not timely provided to the Court in

connection with the preliminary injunction motions, Plaintiffs now seek a

modification of the September 28, 2020 Order to require that each polling place

open with an initial stock of emergency paper ballots totaling at least 40% of the

number of registered voters to a polling place and that the cost of obtaining this

initial stock be borne by the Secretary of State’s Office.

      The Court DENIES this request as it invites the Court to plunge into the

task of advising election officials on precise details of election administration, a

function that is vested in the State Defendants’ and local election superintendents’

discretion. Contrary to Plaintiffs’ contention, SEB Rule 183-1-12-.11(2)(c) does not

pre-determine that a sufficient amount of emergency ballots is equal to only 10%

of the number of registered voters in a polling place. Instead, the Rule provides

that election superintendents shall determine what is a sufficient amount of

emergency paper ballots “so that voting may continue uninterrupted if emergency

circumstances render the electronic ballot markers or printers unusable” and


                                          12
        Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 13 of 16




provides that for “any primary or general election for which a state or federal

candidate is on the ballot, a sufficient amount of emergency paper ballots shall be

at least 10% of the number of registered voters to a polling place.” Id. (emphasis

added). As the evidence and reports of the voting conditions during the primary

reflected, some polling places experienced significant disruption and long lines,

while others were not impacted or backed up at all. Thus, it is likely that the

number of emergency paper ballots necessary to facilitate voting – in the event

such measures are necessary – may vary wildly from polling place to polling place.

II.    CONCLUSION

       Accordingly, the Court GRANTS IN PART the Coalition Plaintiffs’ Motion

[Doc. 958] and will enter a separate Amended Order as follows:

       UNTIL FURTHER ORDER OF THIS COURT:

       Effective immediately for each scheduled primary, general, and runoff

election, the Secretary of State IS ORDERED generate and transmit to each

county election superintendent at the close of absentee in-person early voting an

updated electors list in a format capable of printing by the election superintendent

that includes all of the information located in the electronic pollbook necessary for

printing precinct-level information required in each polling place to check in voters

and issue ballots to eligible voters (referred to as the “updated paper pollbook

backup”). 4    The Secretary of State shall further direct every county election


4Consistent with O.C.G.A. § 21-2-224(b) and State Election Board Rule 183-1-12-.19(8), this list
must include accurate information regarding all persons who have been issued or cast absentee
ballots during the advanced/early voting period prior to election day. See O.C.G.A. § 21-2-224(b)

                                               13
        Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 14 of 16




superintendent (1) to print and provide at each polling place at least one paper

backup of the pollbook for use on Election Day, which paper backup shall be

updated after the close of absentee in-person voting (early voting); (2) to use the

updated paper pollbook backup in the polling place to attempt to adjudicate voter

eligibility and precinct assignment in the event of equipment malfunction or an

emergency as defined by Ga. R. & R. 183-1-12.11(2)(d); 5 (3) to allow voters who are

shown to be eligible electors on the paper pollbook backup who are not shown as

having requested an absentee mail-in ballot to cast a regular or emergency ballot

that is not to be treated as a provisional ballot; (4) to allow voters who are shown

to be eligible electors on the paper pollbook backup but who are shown as having

requested an absentee mail-in ballot to have their absentee ballot canceled and to

cast a regular or emergency ballot that is not to be treated as a provisional ballot,

provided that such voter’s eligibility is confirmed by the county registrar’s office

and the voter’s absentee ballot is canceled in accordance with the provisions of




(“The registrars shall, prior to the hour appointed for opening the polls, place in the possession of
the managers in each precinct one copy of the certified electors list for such precinct, such list to
contain all the information required by law. The list shall indicate the name of any elector who
has been mailed or delivered an absentee ballot.”); Ga. Comp. R. & Regs. 183-1-12-.19(8) (“Prior
to delivery to a polling place, the election superintendent or registrars shall cause the electronic
poll books to accurately mark all persons who have been issued or cast absentee ballots in the
election.”). The Secretary may generate this information directly from the PollPads or from ENET
and the Absentee Voter Report referenced in their filing at Doc. 895. Alternatively, the Secretary
may assume responsibility at its discretion for the printing and delivery of the updated paper
pollbook to county election superintendents.
5 The State Election Board’s Emergency Rule, Ga. R. & R. 183-1-12.11(2)(d), defines the types of

events that may be considered emergencies as “power outages, malfunctions causing a sufficient
number of electronic ballot markers to be unavailable for use, or waiting times longer than 30
minutes.”

                                                 14
        Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 15 of 16




O.C.G.A. § 21-2-388; 6 (5) to take every reasonable measure to ensure that county

election officials and poll workers are trained as to how to generate and use paper

pollbook backups and emergency ballots and handle the casting and counting of

emergency votes in conformity with this Order directly as emergency ballots, if

necessary; and (6) maintain a sufficient stock of emergency paper ballots in

compliance with Ga. Comp. R. & Regs. 183-1-12-.11(2)(c) and 183-1-12-.01. 7

       While the Court has ordered that a minimum of one paper pollbook backup

should be made available for each polling place, it is likely that more than one copy

would be needed in large precincts per the testimony of Fulton County’s Director

of County Registration and Elections. As precincts vary in size enormously across

the counties and the State, the Court FURTHER ORDERS that the Secretary of

State direct all local election superintendents to evaluate the need for issuance of

additional copies of the pollbook backup printouts as back-up tools for precincts


6 See O.C.G.A. § 21-2-388 (providing for cancellation of absentee ballots and permitting voters to
cast votes in person upon cancellation by either surrendering their absentee ballot to the poll
manager of the precinct or in the case of a voter who has requested but not yet received their
absentee ballot by completing an elector’s oath affirming the voter has not marked or mailed an
absentee ballot for voting in such primary or election); See O.C.G.A. § 21-2-384 (regarding
elector’s oath); see also Ga. Comp. R. & Regs. 183-1-14-.06 (regarding procedures for spoiled
absentee ballots).
7 This relief is consistent with State Election Board Rule 183-1-12-.19(1) that requires that election

superintendents equip each polling place with the electronic pollbooks, a paper backup list, and
ensure that “poll workers [] be adequately trained in checking in voters on both electronic poll
books and paper backup list.” Ga. Comp. R. & Regs. 183-1-12-.19(1); see also Ga. Comp. R. & Regs.
183-1-12-.11(2)(c) (providing that the “election superintendent shall cause each polling place to
have a sufficient amount of emergency paper ballots so that voting may continue uninterrupted if
emergency circumstances render the electronic ballot markers or printers unusable. For any
primary or general election for which a state or federal candidate is on the ballot, a sufficient
amount of emergency paper ballots shall be at least 10% of the number of registered voters to a
polling place”). County election superintendents shall determine what is a “sufficient number” of
emergency paper ballots necessary at individual polling locations, which number may exceed 10%
of the number of registered voters at the polling place as needed.

                                                 15
       Case 1:17-cv-02989-AT Document 965 Filed 10/12/20 Page 16 of 16




based on the number of registered voters in each county precinct or polling

location and to promptly advise the County Registrar’s Office of the number of such

additional copies needed.

      IT IS SO ORDERED this 12th day of October, 2020.



                                      _____________________________
                                      Amy Totenberg
                                      United States District Judge




                                        16
